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                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN C. GREENLEE,

               Plaintiff,
       v.                                          Case No.: 2:11-cv-252-ER
NCO FINANCIAL SYSTEMS, INC.,

               Defendants.

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41.1 (b), counsel for all parties hereto stipulate to the dismissal

with prejudice without cost to either party.




       lSI Ross S. Enders                             lSI Craig Thor Kimmel
       Ross S. Enders, Esquire                        Craig Thor Kimmel, Esquire
       Attorney ID: 89840                             Attorney ID: 57100
       Attorney for Defendant,                        Attorney for the Plaintiff


       Date: May 2, 2011                              Date: May 2, 2011


                                    BY THE COURT:


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                                                                      J.


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